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April &, 2021
To whom it may concern:

| am writing this letter on behalf of my nephew, Julian Khater. | have known Julian since
birth. He was a great, shy kid and he grew into a loving, successful, and well-behaved
young man. Everyone faves him. He finished college and sought different opportunities
with different companies.

‘He then ventured into his‘own business, Frutta Bowls. He had an excellent track record
and great relationships with alt of his customers, never getting himself into any troubie.

When we heard of the event involving Julian, we were in total shock, because it
absolutely defies the young man | have known him to be. Julian has always had high
moral standards and great responsibility In his actions. | have always known him to be a
peaceful, loving, great young man, and it is very hard fo accept and believe what he Is
being accused of.

Again, | have known Julian all his life and he has a great personality as weil as great
character, and he does not have a mean bone in his body.

Sin ¥,

Leilé Farrelly

 

 
